     Case 2:22-cv-03664-AB-MRW Document 1 Filed 05/27/22 Page 1 of 12 Page ID #:1




 1   SO. CAL. EQUAL ACCESS GROUP
     Jason J. Kim (SBN 190246)
 2   Jason Yoon (SBN 306137)
     101 S. Western Ave., Second Floor
 3   Los Angeles, CA 90004
     Telephone: (213) 252-8008
 4   Facsimile: (213) 252-8009
     scalequalaccess@yahoo.com
 5
     Attorneys for Plaintiff
 6   DEONDRE RAGLIN
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     DEONDRE RAGLIN,                            Case No.:
11
                  Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                              RELIEF AND DAMAGES FOR
           vs.                                  VIOLATION OF:
13
                                                1. AMERICANS WITH DISABILITIES
14   TMS PROPERTIES ON, LLC; and DOES           ACT, 42 U.S.C. §12131 et seq.;
15   1 to 10,                                   2. CALIFORNIA’S UNRUH CIVIL
                  Defendants.                   RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                              52 et seq.;
17                                              3. CALIFORNIA’S DISABLED
                                                PERSONS ACT, CAL CIV. CODE §54 et
18                                              seq.
19                                              4. CALIFORNIA’S UNFAIR
                                                COMPETITION ACT, CAL BUS & PROF
20                                              CODE § 17200, et seq.
21                                              5. NEGLIGENCE
22
23
24
           Plaintiff DEONDRE RAGLIN (“Plaintiff”) complains of Defendants TMS
     PROPERTIES ON, LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:
25
26
     //
     //
27
28
     //



                                   COMPLAINT FOR DAMAGES - 1
     Case 2:22-cv-03664-AB-MRW Document 1 Filed 05/27/22 Page 2 of 12 Page ID #:2




 1                                 JURISDICTION AND VENUE
 2         1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3   violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4         2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5   arising from the same nucleus of operating facts, are also brought under California law,
 6   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7   54, 54., 54.3 and 55.
 8         3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9   property which is the subject of this action is located in this district, Los Angeles County,
10   California, and Plaintiff’s causes of actions arose in this district.
11                                             PARTIES
12         4.     Plaintiff is a California resident with a physical disability with substantial
13   limitation in his ability to walk. Plaintiff suffers from paraplegia due to T8 spinal cord
14   injury and requires the use of a wheelchair at all times when traveling in public.
15         5.     Defendants are, or were at the time of the incident, the real property owners,
16   business operators, lessors and/or lessees of the real property for a donut shop
17   (“Business”) located at or about 2208 Long Beach Blvd., Long Beach, California.
18         6.     The true names and capacities, whether individual, corporate, associate or
19   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
20   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
21   Court to amend this Complaint when the true names and capacities have been
22   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
23   fictitiously named Defendants are responsible in some manner, and therefore, liable to
24   Plaintiff for the acts herein alleged.
25         7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
26   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
27   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
28




                                    COMPLAINT FOR DAMAGES - 2
     Case 2:22-cv-03664-AB-MRW Document 1 Filed 05/27/22 Page 3 of 12 Page ID #:3




 1   the things alleged herein was acting with the knowledge and consent of the other
 2   Defendants and within the course and scope of such agency or employment relationship.
 3         8.     Whenever and wherever reference is made in this Complaint to any act or
 4   failure to act by a defendant or Defendants, such allegations and references shall also be
 5   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6   and severally.
 7                                  FACTUAL ALLEGATIONS
 8         9.     In or about March of 2022, Plaintiff went to the Business. The Business is a
 9   donut shop business establishment, which is open to the public, and is a place of public
10   accommodation and affects commerce through its operation. Defendants provide parking
11   spaces for customers.
12         10.    While attempting to enter the Business during each visit, Plaintiff personally
13   encountered a number of barriers that interfered with his ability to use and enjoy the
14   goods, services, privileges, and accommodations offered at the Business. To the extent
15   of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
16   limited to, the following:
17                a.     Defendants failed to comply with the federal and state standards for
18                       the parking space designated for persons with disabilities. Defendants
19                       failed to post required signage such as “Minimum Fine $250.”
20                b.     Defendant failed to maintain the parking space designated for persons
21                       with disabilities to comply with the federal and state standards.
22                       Defendants failed to provide the access aisles with level surface
23                       slopes.
24                c.     Defendant failed to maintain the parking space designated for persons
25                       with disabilities to comply with the federal and state standards.
26                       Defendants failed to provide a proper ramp for the persons with
27                       disabilities.
28




                                    COMPLAINT FOR DAMAGES - 3
     Case 2:22-cv-03664-AB-MRW Document 1 Filed 05/27/22 Page 4 of 12 Page ID #:4




 1         11.    These barriers and conditions denied Plaintiff the full and equal access to the
 2   Business. Plaintiff wishes to patronize the Business again. However, Plaintiff is deterred
 3   from visiting the Business because his knowledge of these violations prevents him from
 4   returning until the barriers are removed.
 5         12.    Based on the violations, Plaintiff alleges, on information and belief, that
 6   there are additional barriers to accessibility at the Business after further site inspection.
 7   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 8   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 9         13.    In addition, Plaintiff alleges, on information and belief, that Defendants
10   knew that particular barriers render the Business inaccessible, violate state and federal
11   law, and interfere with access for the physically disabled.
12         14.    At all relevant times, Defendants had and still have control and dominion
13   over the conditions at this location and had and still have the financial resources to
14   remove these barriers without much difficulty or expenses to make the Business
15   accessible to the physically disabled in compliance with ADDAG and Title 24
16   regulations. Defendants have not removed such barriers and have not modified the
17   Business to conform to accessibility regulations.
18                                   FIRST CAUSE OF ACTION
19       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
20         15.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22         16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
23   shall be discriminated against on the basis of disability in the full and equal enjoyment of
24   the goods, services, facilities, privileges, advantages, or accommodations of any place of
25   public accommodation by any person who owns, leases, or leases to, or operates a place
26   of public accommodation. See 42 U.S.C. § 12182(a).
27         17.    Discrimination, inter alia, includes:
28




                                     COMPLAINT FOR DAMAGES - 4
     Case 2:22-cv-03664-AB-MRW Document 1 Filed 05/27/22 Page 5 of 12 Page ID #:5




 1               a.   A failure to make reasonable modification in policies, practices, or
 2                    procedures, when such modifications are necessary to afford such
 3                    goods, services, facilities, privileges, advantages, or accommodations
 4                    to individuals with disabilities, unless the entity can demonstrate that
 5                    making such modifications would fundamentally alter the nature of
 6                    such goods, services, facilities, privileges, advantages, or
 7                    accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 8               b.   A failure to take such steps as may be necessary to ensure that no
 9                    individual with a disability is excluded, denied services, segregated or
10                    otherwise treated differently than other individuals because of the
11                    absence of auxiliary aids and services, unless the entity can
12                    demonstrate that taking such steps would fundamentally alter the
13                    nature of the good, service, facility, privilege, advantage, or
14                    accommodation being offered or would result in an undue burden. 42
15                    U.S.C. § 12182(b)(2)(A)(iii).
16               c.   A failure to remove architectural barriers, and communication barriers
17                    that are structural in nature, in existing facilities, and transportation
18                    barriers in existing vehicles and rail passenger cars used by an
19                    establishment for transporting individuals (not including barriers that
20                    can only be removed through the retrofitting of vehicles or rail
21                    passenger cars by the installation of a hydraulic or other lift), where
22                    such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
23               d.   A failure to make alterations in such a manner that, to the maximum
24                    extent feasible, the altered portions of the facility are readily
25                    accessible to and usable by individuals with disabilities, including
26                    individuals who use wheelchairs or to ensure that, to the maximum
27                    extent feasible, the path of travel to the altered area and the
28                    bathrooms, telephones, and drinking fountains serving the altered



                                COMPLAINT FOR DAMAGES - 5
     Case 2:22-cv-03664-AB-MRW Document 1 Filed 05/27/22 Page 6 of 12 Page ID #:6




 1                       area, are readily accessible to and usable by individuals with
 2                       disabilities where such alterations to the path or travel or the
 3                       bathrooms, telephones, and drinking fountains serving the altered
 4                       area are not disproportionate to the overall alterations in terms of cost
 5                       and scope. 42 U.S.C. § 12183(a)(2).
 6         18.    Where parking spaces are provided, accessible parking spaces shall be
 7   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 8   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 9   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
10   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
11   be van parking space. 2010 ADA Standards § 208.2.4.
12         19.    Under the ADA, the method and color of marking are to be addressed by
13   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
14   Building Code (“CBC”), the parking space identification signs shall include the
15   International Symbol of Accessibility. Parking identification signs shall be reflectorized
16   with a minimum area of 70 square inches. Additional language or an additional sign
17   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
18   parking space identification sign shall be permanently posted immediately adjacent and
19   visible from each parking space, shall be located with its centerline a maximum of 12
20   inches from the centerline of the parking space and may be posted on a wall at the
21   interior end of the parking space. See CBC § 11B-502.6, et seq.
22         20.    Moreover, an additional sign shall be posted either in a conspicuous place at
23   each entrance to an off-street parking facility or immediately adjacent to on-site
24   accessible parking and visible from each parking space. The additional sign shall not be
25   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
26   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
27   designated accessible spaces not displaying distinguishing placards or special license
28




                                   COMPLAINT FOR DAMAGES - 6
     Case 2:22-cv-03664-AB-MRW Document 1 Filed 05/27/22 Page 7 of 12 Page ID #:7




 1   plates issued for persons with disabilities will be towed always at the owner’s expense…”
 2   See CBC § 11B-502.8, et seq.
 3         21.    Here, Defendants failed to provide signs stating “Minimum Fine $250.”
 4         22.    The cross slope of ramp surfaces shall be no greater than 1:50. Ramp
 5   surfaces shall comply with 4.5. 1991 Standards § 4.8.6. Ramps and landings with drop-
 6   offs shall have curbs, walls, railings, or projecting surfaces that prevent people from
 7   slipping off the ramp. Curbs shall be a minimum of 2 in (50 mm) high. 1991 Standards §
 8   4.8.7. Outdoor ramps and their approaches shall be designed so that water will not
 9   accumulate on walking surfaces. 1991 Standards § 4.8.8. Ground and floor surfaces
10   along accessible routes and in accessible rooms and spaces including floors, walks,
11   ramps, stairs, and curb ramps, shall be stable, firm, slip-resistant, and shall comply with
12   4.5. 1991 Standards § 4.5.1.
13         23.    Here, Defendants failed to provide a compliant ramp for the access aisle.
14         24.    Under the 1991 Standards, parking spaces and access aisles must be level
15   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
16   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
17   shall be part of an accessible route to the building or facility entrance and shall comply
18   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
19   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
20   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
21   directions. 1991 Standards § 4.6.3.
22         25.    Here, the access aisle is not level with the parking space. Under the 2010
23   Standards, access aisles shall be at the same level as the parking spaces they serve.
24   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
25   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
26   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
27         26.    A public accommodation shall maintain in operable working condition those
28   features of facilities and equipment that are required to be readily accessible to and usable



                                    COMPLAINT FOR DAMAGES - 7
     Case 2:22-cv-03664-AB-MRW Document 1 Filed 05/27/22 Page 8 of 12 Page ID #:8




 1   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
 2   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
 3   violation of Plaintiff’s rights under the ADA and its related regulations.
 4         27.    The Business has denied and continues to deny full and equal access to
 5   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 6   discriminated against due to the lack of accessible facilities, and therefore, seeks
 7   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 8   by individuals with disabilities.
 9                                 SECOND CAUSE OF ACTION
10                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
11         28.    Plaintiff incorporates by reference each of the allegations in all prior
12   paragraphs in this complaint.
13         29.    California Civil Code § 51 states, “All persons within the jurisdiction of this
14   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
15   national origin, disability, medical condition, genetic information, marital status, sexual
16   orientation, citizenship, primary language, or immigration status are entitled to the full
17   and equal accommodations, advantages, facilities, privileges, or services in all business
18   establishments of every kind whatsoever.”
19         30.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
20   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
21   for each and every offense for the actual damages, and any amount that may be
22   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
23   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
24   attorney’s fees that may be determined by the court in addition thereto, suffered by any
25   person denied the rights provided in Section 51, 51.5, or 51.6.
26         31.    California Civil Code § 51(f) specifies, “a violation of the right of any
27   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
28   shall also constitute a violation of this section.”



                                     COMPLAINT FOR DAMAGES - 8
     Case 2:22-cv-03664-AB-MRW Document 1 Filed 05/27/22 Page 9 of 12 Page ID #:9




 1         32.    The actions and omissions of Defendants alleged herein constitute a denial
 2   of full and equal accommodation, advantages, facilities, privileges, or services by
 3   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 4   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 5   51 and 52.
 6         33.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 7   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 8   damages as specified in California Civil Code §55.56(a)-(c).
 9                                 THIRD CAUSE OF ACTION
10                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
11         34.    Plaintiff incorporates by reference each of the allegations in all prior
12   paragraphs in this complaint.
13         35.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
14   entitled to full and equal access, as other members of the general public, to
15   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
16   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
17   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
18   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
19   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
20   places of public accommodations, amusement, or resort, and other places in which the
21   general public is invited, subject only to the conditions and limitations established by
22   law, or state or federal regulation, and applicable alike to all persons.
23         36.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
24   corporation who denies or interferes with admittance to or enjoyment of public facilities
25   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
26   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
27   the actual damages, and any amount as may be determined by a jury, or a court sitting
28   without a jury, up to a maximum of three times the amount of actual damages but in no



                                     COMPLAINT FOR DAMAGES - 9
     Case 2:22-cv-03664-AB-MRW Document 1 Filed 05/27/22 Page 10 of 12 Page ID #:10




 1    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 2    determined by the court in addition thereto, suffered by any person denied the rights
 3    provided in Section 54, 54.1, and 54.2.
 4           37.   California Civil Code § 54(d) specifies, “a violation of the right of an
 5    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 6    constitute a violation of this section, and nothing in this section shall be construed to limit
 7    the access of any person in violation of that act.
 8           38.   The actions and omissions of Defendants alleged herein constitute a denial
 9    of full and equal accommodation, advantages, and facilities by physically disabled
10    persons within the meaning of California Civil Code § 54. Defendants have
11    discriminated against Plaintiff in violation of California Civil Code § 54.
12           39.   The violations of the California Disabled Persons Act caused Plaintiff to
13    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
14    statutory damages as specified in California Civil Code §55.56(a)-(c).
15                                 FOURTH CAUSE OF ACTION
16                                 UNFAIR COMPETITION ACT
17           40.   Plaintiff incorporates by reference each of the allegations in all prior
18    paragraphs in this complaint.
19           41.   Defendants have engaged in unfair competition, unfair or fraudulent
20    business practices, and unfair, deceptive, untrue or misleading advertising in violation of
21    the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
22           42.   Defendants engage in business practices and policies that create systemic
23    barriers to full and equal access for people with disability in violation of state and federal
24    law.
25           43.   The actions and omissions of Defendants are unfair and injurious to
26    Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
27    unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
28    provided with goods and services provided to other consumers. Plaintiff seeks relief



                                    COMPLAINT FOR DAMAGES - 10
     Case 2:22-cv-03664-AB-MRW Document 1 Filed 05/27/22 Page 11 of 12 Page ID #:11




 1    necessary to prevent Defendants’ continued unfair business practices and policies and
 2    restitution of any month that Defendants acquired by means of such unfair competition,
 3    including profits unfairly obtained.
 4                                    FIFTH CAUSE OF ACTION
 5                                           NEGLIGENCE
 6           44.    Plaintiff incorporates by reference each of the allegations in all prior
 7    paragraphs in this complaint.
 8           45.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 9    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
10    to the Plaintiff.
11           46.    Defendants breached their duty of care by violating the provisions of ADA,
12    Unruh Civil Rights Act and California Disabled Persons Act.
13           47.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
14    has suffered damages.
15                                      PRAYER FOR RELIEF
16           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
17    Defendants as follows:
18           1.     For preliminary and permanent injunction directing Defendants to comply
19    with the Americans with Disability Act and the Unruh Civil Rights Act;
20           2.     Award of all appropriate damages, including but not limited to statutory
21    damages, general damages and treble damages in amounts, according to proof;
22           3.     Award of all reasonable restitution for Defendants’ unfair competition
23    practices;
24           4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
25    action;
26           5.     Prejudgment interest pursuant to California Civil Code § 3291; and
27           6.     Such other and further relief as the Court deems just and proper.
28




                                    COMPLAINT FOR DAMAGES - 11
     Case 2:22-cv-03664-AB-MRW Document 1 Filed 05/27/22 Page 12 of 12 Page ID #:12




 1                               DEMAND FOR TRIAL BY JURY
 2          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3    demands a trial by jury on all issues so triable.
 4
 5    Dated: May 27, 2022                     SO. CAL. EQUAL ACCESS GROUP
 6
 7
 8                                            By:   _/s/ Jason J. Kim_____________
                                                    Jason J. Kim, Esq.
 9                                            Attorneys for Plaintiff
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28




                                    COMPLAINT FOR DAMAGES - 12
